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      Read the Full Transcript of Donald Trump’s ‘100 Days’
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        POLITICS         DONALD TRUMP




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      Martin Schoeller for TIME




      by TIME Staff




      P
                       resident Donald Trump sat down for an interview with TIME at the White House on
                       April 22.




      Over the course of the interview, Trump discussed a wide range of issues, including his
      trade war and the economy, immigration, presidential power, and the situations in Ukraine
      and the Middle East.


      Below is a lightly edited transcript of the interview conducted by TIME Senior Political
      Correspondent Eric Cortellessa and Editor-in-Chief Sam Jacobs. Click here to read our fact
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      TIME: Obviously, a lot has happened. We want to have a conversation about what your first
      100 days have looked like in office. And we want to try to touch on as many different points
      as we can.
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      Trump: There’s a lot, right? A lot of things happening.
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      You know better than anyone that the President of the United States is the most powerful
      person in the world. At the same time, it seems like you are expanding the power of the
      presidency. Why do you think you need more power?


      Well, I don't feel I'm expanding it. I think I'm using it as it was meant to be used. I feel that
      we've had a very successful presidency in 100 days. We've had people writing it was the
      best first month and best second month, and really the best third month. But that you won't
      know about for a little while, because it takes a little time in transition. You know, we're
      resetting a table. We were losing $2 trillion a year on trade, and you can't do that. I mean, at
      some point somebody has to come along and stop it, because it's not sustainable. We were
      carrying other countries on our back with, you know, with trade numbers, with horrible
      numbers, and we've changed it. You see the market fluctuates quite a bit. Today, it's up
      1,000 or 1,200 points. It goes up and down, but that will steady out, and we're taking in
      tremendous amounts of money. We have, as you know, already, 25% on cars, 25% on steel
      and aluminum—



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      Mr. President, I think what we’re driving at is that you've taken congressional authority on
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      trade and appropriations. You fired the heads of independent agencies. You're challenging
      the courts right now, as you know. You're using the levers of government to weaken
      private institutions like law firms and universities. Isn't this seizing power away from
      institutions and concentrating them inside the presidency?


      No, I think that what I'm doing is exactly what I've campaigned on. If you look at what I
      campaigned on, for instance, you can talk about removing people from the country. We
      have to do it because Biden allowed people to come in through his open border crazy,
      insanity. He allowed people to come into our country that we can't have in our country. Many
      criminals—they emptied their prisons, many countries, almost every country, but not a
      complete emptying, but some countries a complete emptying of their prison system. But
      you look all over the world, and I'm not just talking about South America, we're talking about
      all over the world. People have been led into our country that are very dangerous. If you
      were walking down the street, and if you happen to be near one of these people, they could,
      they would kill you, and they wouldn't even think about it. And we can't have that in our
      country.


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      So you're not concentrating more power in the presidency?


      I don't think so. I think I'm using it properly, and I'm also using it as per my election. You
      know, everything that I'm doing—this is what I talked about doing. I said that I'm going to
      move the criminals out. I saw what was happening early on when I heard that he had open
      borders, when I, because it was a hard thing to believe. I built hundreds of miles of wall, and
      then he didn't want to, and we had another, an extra hundred miles that I could have put up
      because I ordered it as extra. I completed the wall, what I was doing, but we have, I wanted
      to build additional because it was working so well. An extension. And he didn't want to do
      that. And when he said he wasn't going to do that, I said, “Well, he must want open borders.”
      There were sections that were being built. And he stopped to work on it, and I said, this guy
      actually wants to have open borders. That's going to be a tragedy for our country. That's
      going to mean that other countries will release into our country some very rough people.


      We’d love to come back to immigration but maybe start with the economy. Obviously an
      issue you campaigned on as well. You promised that you would immediately bring down
      prices and usher in a golden age of America. The prices of gas and eggs have gone down,
      but the cost of other things remain—
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      The prices of groceries have gone down. The only price that hasn't gone down is the price of
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      energy. The cost of energy, I'm sorry, well, energy has gone down, excuse me. Let me
      change that—is the interest rates. And interest rates have essentially stayed the same. But
      almost every other thing, I mean, you take a look at what's going on, and this is, we're taking
      in billions of dollars of tariffs, by the way. And just to go back to the past, I took in hundreds
      of billions of dollars of tariffs from China, and then when COVID came, I couldn't institute the
      full program, but I took in hundreds of billions, and we had no inflation.


      But let’s focus on what is happening right now because—


      We took in billions of dollars, we had no inflation. Now, if you take a look, the price of
      groceries are down. The price of energy is down.


      Inflation remains pretty much the same. And the IMF is saying it’s going to go up.


      No, Eric, you can't say what they think, because so far what I thought is right. I've been right
      about—


      401ks are down. The Atlanta Fed says our economy is contracting -2.2% during quarter
      one.


      Well, they may have said that, but so far, they've been, I mean, I've been right. If you look at
      all of the years that I've been doing this, I've been right on things. You're gonna—you're
      gonna have the wealthiest country we've ever had, and you're gonna have an explosion
      upward in the not-too-distant future. You know, I've been here now for three months, and I
      inherited eggs, I inherited groceries, I inherited energy. It was all going through the roof.
      And we had the highest inflation we've ever had as a country, or very close to it. And I
      believe it was the highest ever. Somebody said it's the highest in only 48 years. That's a lot,
      too, but I believe we had the highest inflation we've ever had. I've been here now for three
      months. And three months, we are taking in billions and billions of dollars from other
      countries that we never took in before. And that's just the start.


      Well let’s talk about the tariffs. You want companies to build and make goods here in
      America.


      Not in all cases. There are some products I really don't want to make here.


      Like t-shirts?
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      I can’t–I can give you a list because I actually have a list, but if you want, I could give it to
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      you.


      Well, I mean, the question is, how can CEOs make long-term plans and investments if our
      tariff policy can change from day to day and still remains so uncertain?


      How can they make long-term investments? I'll turn it around. How can they make long-term
      investments if our country is losing $2 trillion a year on trade?


      Will you consider giving exemptions—


      No wait, just so you understand. How can we sustain and how is it sustainable that our
      country lost almost $2 trillion on trade in Biden years, in this last year. That's not—when you
      talk about a company. I had the head of Walmart yesterday, right in that seat. I had the head
      of Walmart. I had the head of Home Depot and the head of Target in my office. And I'll tell
      you what they think, they think what I'm doing is exactly right.


      Well, the CEOs of small businesses are saying they may not be able to last another two
      months with the current regime in place. Will you consider giving small businesses an
      exemption similar to what you've given to Big Tech?


      I’d have to look at the individual business.


      Would you consider it?


      Our country is going to be very rich in not a long period of time. I've been doing this for
      three months, and if you look at the kind of numbers that we're taking in and the jobs, and if
      you look at, more importantly, the companies, the chip companies, the car companies, the
      Apple. $500 billion. Apple is investing $500 billion in building plants. They never invested in
      this country.


      Small businesses are worried that you’re treating the Apples of the world better than
      you’re treating them.


      No, I’m treating small businesses—small businesses will be a bigger beneficiary of what I'm
      doing than than the large businesses. But everybody's going to benefit.




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      If we still have high tariffs, whether it's 20% or 30% or 50%, on foreign imports a year from
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      now, will you consider that a victory?


      Total victory.


      Why so?


      Because the country will be making a fortune. Look, that's what China did to us. They charge
      us 100%. If you look at India—India charges 100-150%. If you look at Brazil, if you look at
      many, many countries, they charge—that's how they survive. That's how they got rich. Now,
      zero would be easy. Oh, zero would be easy, but zero, you wouldn't have any companies
      coming in. They're coming in because they don't want to pay the tariffs. Remember this,
      there are no tariffs, if they make their product here. There are no tariffs, if they make their
      product here. There are no tariffs. This is a tremendous success. You just don't know it yet,
      but this is a tremendous success what’s happening. We're taking in billions and billions of
      dollars, money that we never took in before. We're also, very importantly, because of that,
      because of the money we're taking in, those companies are going to come back and they're
      going to make their product here. They're going to go back into North Carolina and start
      making furniture again. They've already started. In Mexico, many car plants that were under
      construction have stopped. They're all coming into this country. We're gonna, you're gonna
      see car plants going at a level that you've never seen before.


      Your trade adviser–


      I'm also—chips. Look at Jensen.


      Nvidia.


      He's gonna spend $500 billion. Look at Mr. Wei from Taiwan.


      Do you trust them when they say that? These businessmen who say, Oh, I'm gonna spend
      $500 billion.


      Oh yeah. Well, I’ll tell you why I trust them. First of all, I think they’re trustworthy people. But
      more importantly, they have no choice, because they won't be able to pay the tariffs if they
      don't do it. The tariffs are bringing in the business. Remember, with all the, you know,
      questions you're asking about tariffs, there are no tariffs when you make your product here.


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      Sure, no, I understand, Mr. President—
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      Zero.


      Your trade adviser, Peter Navarro, says 90 deals in 90 days is possible. We're now 13 days
      into the point from when you lifted the reciprocal, the discounted reciprocal tariffs.
      There's zero deals so far. Why is that?


      No, there’s many deals.


      When are they going to be announced?


      You have to understand, I'm dealing with all the companies, very friendly countries. We're
      meeting with China. We're doing fine with everybody. But ultimately, I've made all the deals.


      Not one has been announced yet. When are you going to announce them?


      I’ve made 200 deals.


      You’ve made 200 deals?


      100%.


      Can you share with whom?


      Because the deal is a deal that I choose. View it differently: We are a department store, and
      we set the price. I meet with the companies, and then I set a fair price, what I consider to be
      a fair price, and they can pay it, or they don't have to pay it. They don't have to do business
      with the United States, but I set a tariff on countries. Some have been horrible to us. Some
      have been okay. Nobody's been great. Nobody's been great. Everybody took advantage of
      us. What I'm doing is I will, at a certain point in the not too distant future, I will set a fair price
      of tariffs for different countries. These are countries—some of them have made hundreds of
      billions of dollars, and some of them have made just a lot of money. Very few of them have
      made nothing because the United States was being ripped off by every, almost every
      country in the world, in the entire world. So I will set a price, and when I set the price, and I
      will set it fairly according to the statistics, and according to everything else. For instance, do
      they have the VAT system in play? Do they charge us tariffs? How much are they charging
      us? How much have they been charging us? Many, many different factors, right. How are we

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      being treated by that country? And then I will set a tariff. Are we paying for their military?
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      You know, as an example, we have Korea. We pay billions of dollars for the military. Japan,
      billions for those and others. But that, I'm going to keep us a separate item, the paying of the
      military. Germany, we have 50,000 soldiers—


      I’m just curious, why don’t you announce these deals that you’ve solidified?


      I would say, over the next three to four weeks, and we're finished, by the way.


      You’re finished?


      We’ll be finished.


      Oh, you will be finished in three to four weeks.


      I’ll be finished. Now, some countries may come back and ask for an adjustment, and I'll
      consider that, but I'll basically be, with great knowledge, setting—ready? We're a department
      store, a giant department store, the biggest department store in history. Everybody wants to
      come in and take from us. They're going to come in and they're going to pay a price for
      taking our treasure, for taking our jobs, for doing all of these things. But what I'm doing with
      the tariffs is people are coming in, and they're building at levels you've never seen before.
      We have $7 trillion of new plants, factories and other things, investment coming into the
      United States. And if you look back at past presidents, nobody was anywhere near that. And
      this is in three months.


      Will you call President Xi if he doesn’t call you?


      No.


      You won’t?


      Nope.


      Has he called you yet?


      Yep.


      When did he call you?

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      He's called. And I don't think that's a sign of weakness on his behalf.
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      But you would think it’s a sign of weakness if you called him?


      I don’t–I just look—


      Well, what did he say?


      If people want to–well, we all want to make deals. But I am this giant store. It's a giant,
      beautiful store, and everybody wants to go shopping there. And on behalf of the American
      people, I own the store, and I set prices, and I'll say, if you want to shop here, this is what you
      have to pay.


      This period of uncertainty will be over in three to four weeks?


      I don’t think there’s any uncertainty there. The only thing—they have an option. They don't
      have to shop here. They can go someplace else, but there aren't too many places they can
      go. You understand what I mean though?


      Sure. Your Treasury Secretary says this situation with China is unsustainable.


      Oh I agree. You mean the way it is now?


      Yes.


      Or the way it was before I got here?


      The current moment, too, he believes is unsustainable.


      Well, no, they won’t do any business here, because at 145% it's going to be very rare that you
      see business.


      But your conversations with Xi have made you feel like we’re moving towards a more
      productive—


      Oh, there’s a number at which they will feel comfortable. Yeah. But you can’t let them make a
      trillion dollars from us. You can’t let them make $750 billion. See, that’s really what’s not
      sustainable when China makes a trillion dollars, or a trillion one, when we have almost $2

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      trillion worth of, I call it loss. Some people don't, but a lot of it’s loss. I say, when you have a
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      trade deficit of $2 trillion I consider that loss.


      Mr. President, there was a period of time on April 9 when the bond market was under
      extreme stress and there was a risk of a financial crisis far beyond what the plummeting
      stock market suggested.


      I wasn’t worried.


      What did your advisers tell you, though? You were in the Oval Office with Scott Bessent
      and Howard Lutnick. What did they tell you to convince you to lift the reciprocal tariffs for
      the 90-day pause?


      They didn’t tell me. I did that.


      What made you decide?


      It wasn’t for that reason.


      It wasn’t for the bond market?


      No, it wasn’t for that reason. I'm doing that until we come up with the numbers that I want to
      come up with. I've met with a lot of countries. I've talked on the telephone. I don’t even want
      them to come in.


      You said the bond market was getting the yips.


      The bond market was getting the yips, but I wasn’t. Because I know what we have. I know
      what we have, but I also know we won't have it for long if we allowed four more years of the
      gross incompetence. This thing was just running—it was running as a free spirit. This was—
      this was the most incompetent president in history.


      In our interview last year, Mr. President, you committed to complying with all Supreme
      Court orders.


      I said what?


      You committed to complying with all Supreme Court orders—

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      Yeah.
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      When you and I spoke last April. Are you still committed to complying with all Supreme
      Court orders?


      Sure, I believe in the court system.


      The Supreme Court ruled 9-0 that you have to bring back Kilmar Abrego Garcia. You
      haven't done so. Aren’t you disobeying the Supreme Court?


      Well, that’s not what my people told me—they didn’t say it was, they said it was—the nine to
      nothing was something entirely different.


      Let me quote from the ruling. “The order properly requires the government to facilitate
      Abrego Garcia's release from custody in El Salvador.” Are you facilitating a release?


      I leave that to my lawyers. I give them no instructions. They feel that the order said
      something very much different from what you're saying. But I leave that to my lawyers. If
      they want—and that would be the Attorney General of the United States and the people that
      represent the country. I don't make that decision.


      Have you asked President Bukele to return him?


      I haven’t, uh, he said he wouldn’t.


      Did you ask him?


      But I haven’t asked him positively, but he said he wouldn’t.


      But if you haven't asked him, then how are you facilitating his release?


      Well, because I haven't been asked to ask him by my attorneys. Nobody asked me to ask him
      that question, except you.


      Do you believe he deserves his day in court?


      I believe that they made him look like a saint, and then we found out about him. He wasn't a
      saint. He was MS-13. He was a wife beater and he had a lot of things that were very bad, you

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      know, very, very bad. When I first heard of the situation, I was not happy, and then I found
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      out that he was a person who was an MS-13 member. And in fact, he had a tattooed right on
      his—I'm sure you saw that—he had it tattooed right on his knuckles: MS-13. No, I believe he's
      a man who has got quite a past. This is no longer just a nice, wonderful man from Maryland,
      which people, which the fake news had me and other people for a period of time believing.
      Now, nobody believes that. And I think this isa very bad—I think this is another menwomen’s
      sports thing for the Democrats.


      Maybe, but Mr. President, whatever he might have done, whoever he might be affiliated
      with, doesn’t he deserve his day in court? Nazi saboteurs who came on our shores at
      Montauk during World War II had their day in court. Al Qaeda terrorists had their day in
      court.


      I really give that to my lawyers to determine, that’s why I have them. That’s not my
      determination. It's something that, frankly, bringing him back and retrying him wouldn't
      bother me, but I leave that up to my lawyer. You could bring him back and retry him—


      That’s exactly right. You could fix this simply by bringing him back and going through the
      legal process—


      But I leave that decision to the lawyers. At this moment, they just don’t want to do that. They
      say we’re in total compliance with the Supreme Court.


      What about the lower courts? Are you committed to complying with lower courts?


      Sure. All courts.


      One more question on this, sir. You took an oath to preserve, protect and defend the
      Constitution. The Constitution says the Supreme Court is the ultimate authority once they
      issue a ruling. If you defy them, aren't you violating your oath?


      I'm not defying the Supreme Court. I never defy the Supreme Court. I wouldn't do that. I'm a
      big believer in the Supreme Court, and have a lot of respect for the Justices.


      You asked President Bukele of El Salvador to build out the CECOT prison to house
      American citizens. You said you would love to send “homegrown criminals” there—




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      No, I didn’t say that. I said if it were permissible according to the law, I would like to do that,
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      yes.


      Well, do you intend to send American citizens to foreign persons?


      I would love to do that if it were permissible by law. We're looking into that. When I have a
      person, these would be extreme cases. When I have a person that is a 28-time in and out
      person that goes out and tries to kill people every time he or she is out, I would have no
      problem with doing that whatsoever. We're talking about career criminals that are horrible
      people that we house and we have to take care of for 50 years while they suffer because
      they killed people. If you ask me whether or not I would do that, I would, but totally, and I
      think you have to leave this part of the sentence totally subject to it being allowed under law.
      And people are looking to see if it would be allowed under law. We have crime rates under
      Biden that went through the roof, and we have to bring those rates down. And unfortunately,
      those rates have been added to by the illegal immigrants that he allowed into the country.


      Which Americans would you do that to?


      I would do that to people that hit old ladies over the head with a baseball bat, for people that
      grab their bicycle? You saw that one where they dragged an old woman along the street on
      a motorcycle, a bicycle, a motorcycle, I think. People that push people into subway trains
      just before the train is ready to stop. You saw that? The man barely lived. Think of it. And a
      guy comes up to him, and from behind he pushes him. That's a serious, serious thing.
      People that shoot people in the back, people that are executioners. Yeah, I would have no
      trouble with that but subject to it being allowed by law.


      Do you really want there to be gulags for American citizens in foreign countries?


      Gulag? You define gulag.


      Prisons like in the Soviet Union—


      Look, I see where you’re coming from, from the moment this interview started, and it's fine, I
      don't mind. I've answered every question that can be answered by mankind or womankind,
      and I see where you're coming from. Rapid fire. You can't even wait for me to give you the
      answer. You should let me give you that final answer.


      Go ahead, sir.
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      No, no, I’m not—I’m just saying, I see where you’re coming from, and you’re just so wrong.
        EXPLORE                                                                                                          SUBSCRIBE
      You’re so wrong. These are people that have been in jail for 20 times. They're career
      criminals. Do I have a problem with a career criminal that hits people with baseball bats
      when they're not looking, that pushes people into subways, that shoots people in the face or
      in the back? I have absolutely no problem with doing that, if the law allows it to be done and
      we're looking at it. And one of the reasons I like it is because it would be much less
      expensive than our prison system, and I think it would actually be a greater deterrent.


      Sir, on that note, how much are we paying President Bukele for holding those prisoners?


      I don’t know. I could get you the information, but we’re paying less than we would normally.


      Did you personally approve those payments?


      No, I didn’t.


      Many of the Jan. 6 prisoners you pardoned pleaded guilty to or were convicted of violent
      crimes as part of the capital attack. Days before you pardoned them, J.D. Vance said “of
      course” you wouldn't include those who committed violence. What changed?


      What changed where?


      At what moment did you decide to include all of the defendants, including the ones who
      committed violent offenses?


      Because I've watched in Portland and I watched in Seattle, and I've watched in Minneapolis,
      Minnesota and other places. People do heinous acts, far more serious than what took place
      on Jan. 6. And nothing happened to these people. Nothing. And I said, What a double
      standard it is. And we were talking about a very small group of people that are in your
      definition, most of these people should have been let out a long time ago. There's never
      been a group of people, maybe with one exception, I won't even go into it, one exception as
      a group. But there's never been a group of people that's been treated so horribly as the J6
      people. You know, when I say peacefully and patriotically, nobody mentions that. When I say
      go peacefully and patriotically, nobody ever mentions that. Nobody mentions the fact that
      the unselect committee of political scum, the unselect committee, horrible people, they
      destroyed all evidence, they burned it, they got rid of it, they destroyed it, and they deleted
      all evidence. And we went in looking for evidence, and they said, I'm sorry, we don't have it
      anymore. It's been destroyed. If I ever did that, it would be unthinkable what you guys, what

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      you two guys, would be doing and writing, but, you know, and nobody wants to talk about it,
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      and you won't write about it, and nobody writes about it. It’s unbelievable, right? But people
      get it. I mean, people get it. They get what I'm saying, and they obviously believe it, because
      I had a hell of an election.


      You campaigned on it, and you won decisively.


      No and everything I campaigned. If you think of, you know, the way you ask me these
      questions, like, it's so serious that we're moving people out of the country. I said during the
      election that I'm going to move them out of the country, and that's what we're doing.


      Can you talk a little bit about the budget?


      Yeah. And if we didn't do it, then you two would not be safe. I guarantee it.


      Some Republicans are considering raising taxes on millionaires in the package you're
      planning to pass that would extend your 2017 tax cuts. Do you support that idea?


      Well, I’ll tell ya, I certainly don’t mind having a tax increase, and the only reason I wouldn't
      support it is because I saw Bush where they said, where he said “Read my lips” and he lost
      an election. He would have lost it anyway, but he lost an election. He got beat up pretty
      good. I would be honored to pay more, but I don't want to be in a position where we lose an
      election because I was generous, but me, as a rich person, would not mind paying and you
      know, we're talking about very little. We're talking about one point. It doesn't make that
      much difference, and yet, I could just see somebody trying to bring that up as a subject,
      and, you know, say, “Oh, he raised taxes.” Well, I wouldn't be, really, you know, in the true
      sense, I wouldn't. I'd be raising them on wealthy to take care of middle class. And that's—I
      love, that. I actually love the concept, but I don't want it to be used against me politically,
      because I've seen people lose elections for less, especially with the fake news.


      Do you think it would help cover the cost that would be lost from getting rid of taxes on
      tips and some of these other proposals?


      Well, that would be able to take it. See, that would be able to do it, but I would not mind
      personally paying more. But the concept is something that may not be acceptable to the
      public.



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      Experts estimate that the House Republican budget will result in more than $800 billion in
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      losses to Medicaid over the next 10 years. Do you support that?


      Due to what?


      The House Republican budget that would cut roughly $800 billion from Medicaid.


      I don’t think they’re going to cut $800 billion. They’re going to look at waste, fraud, and
      abuse.


      So would you veto a bill if it had cuts to Medicaid?


      If it was an increase, if we were deducting something from—I would, but it's waste, it's fraud
      and abuse is what we're looking for. And nobody minds that.


      If Republicans send you a bill that cuts Social Security, Medicare and Medicaid, you
      commit to vetoing it?


      If it cuts it, I would not approve.


      So you would veto that?


      I would veto it, yeah. But they’re not going to do that.


      Would you support a ban on congressional stock trading?


      Well, I watched Nancy Pelosi get rich through insider information, and I would be okay with
      it. If they send that to me, I would do it.


      You'll sign it?


      Absolutely.


      The FTC is currently trying Meta for maintaining an illegal monopoly by acquiring
      Instagram and WhatsApp. Do you think more companies need to be broken up?


      It depends on the company, depends on the market, depends on what the company does.
      But I think that a lot of companies certainly have been looked at during the Obama and


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      during the Biden regime certainly.
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      Do you think corporate monopolies have hurt average Americans?


      In some cases, yeah. In some cases, not.


      I’d like to ask you some questions about DOGE. You've put Elon Musk in charge of this
      cost-cutting operation. The question is, why is the government, through DOGE, amassing
      the sensitive personal information about everyday Americans, which was previously
      stored across different agencies, all in one place?


      DOGE has been a very big success. We found hundreds of billions of dollars of waste, fraud,
      and abuse. Billions of dollars being given to politicians, single politicians based on the
      environment. It's a scam. It's illegal, in my opinion, so much of the stuff that we found, but I
      think DOGE has been a big success from that standpoint.


      [An aide interrupts the interview for President Trump to take a phone call from Indian Prime
      Minister Narendra Modi]


      So if we can just come back to the question before the call, which is the database that
      DOGE is putting together Americans’ information. Why are they doing that?


      Because we want to find waste, fraud, and abuse, and want to cut our costs.


      Some officials have described what DOGE is doing is creating a central kind of “God-
      mode” view into government databases that has been, up until now, intentionally kept
      separate. The idea, they say, is to basically use this information to advance your policy
      goals. Is this an accurate characterization?


      No, that’s inaccurate, as you know. I mean, it’s a crazy question. We just want to find fraud,
      abuse. We want to find who's on the rolls that shouldn't be, who's getting paid every month
      by the government that shouldn't be paid. Do these people exist? In many cases, they don't,
      in some cases, even worse, they do. They've been getting money, and they shouldn't be.


      What does your administration plan to do with information obtained by the IRS and other
      agencies as part of the DOGE effort?




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      Well, I don’t know about the IRS, because, as you know, I’m not involved in it, but we’ve
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      found tremendous waste, fraud and abuse. Tremendous.


      Will any of it be used to track down and round up migrants as part of the deportation
      operation?


      Not that I know of, no.


      Let's talk about the cuts. As you know, Mr. President, a lot of American companies do
      business with the government. The DOGE cuts aren't just affecting government
      employees. They're also affecting American businesses that provide goods and services
      to the federal government. There were nearly 280,000 layoffs in March across virtually
      every sector. Why is it better for these people to be out of jobs?


      Because we have to have an efficient country. And when the country gets down to bare
      knuckles, you're going to see, you're going to see something the likes of which this world
      has never seen before. We're going to make our country strong, powerful, and very rich
      again. Right now, our country is not sustainable. We're being ripped off by everybody in the
      world, other countries, other people, other militaries, are ripping us off. We're protecting
      countries for no money or for very minimal money, and that wasn't supposed to happen.
      We're not supposed to be protecting everybody. We're supposed to be, number one, taking
      care of ourself, and number two, helping people when we can, helping outside people and
      outside countries where we can. But we've been ripped off by levels that you've never seen.
      European Union sounds nice, but they've been very tough. $300 billion loss. China—
      hundreds of billions of dollars in losses. And I can go through a list, but I don't want to,
      because there are many friendly countries, our friendly countries, in many cases, are worse
      than our enemies. And it's not a sustainable model. It's not a sustainable possibility even,
      that a country can go through that and Biden let it get to a level that is seriously dangerous.


      Well, many Americans certainly agree with you that they want to get rid of government
      fraud, waste, and abuse. They want to shrink the federal—


      It’s not only government. It’s deals. It's horrible deals that have been made with other
      countries. As an example, China has been ripping us off for many years, until I came along. I
      raised, I upped tariffs on China, hundreds of billions of dollars. We've done hundreds of
      billions, hundreds.



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      But domestically, for instance, your administration blocked grants for the National
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      Institutes of Health that funded research into infectious diseases, cancers, Alzheimer's—


      Well maybe we didn't think they were right. You know, I mean, you look at the people, look at
      the money that was given away by others. We didn't get anything out of it.


      Well what do you tell the families and people who are suffering from those diseases?


      We're taking care of—we're spending a lot. I spent 58—we spent, let's see, I think $58 billion
      in the first term. We were spending tremendous amounts of money, and I am now, but they
      have to be a little bit careful. A lot of the money like Stacey Abrams got $2 billion on the
      environment. They had $100 in the account and she got $2 billion just before these people
      left—and had to do with something that she knows nothing about.


      NIH is the world’s largest funder of cancer research—


      Shouldn’t they be asking those questions? I could give you a list of abuse and waste and
      fraud, and you don't have any interest in hearing it. I mean, I just see by these questions, just
      wondering, with all of the bad things that have happened, with all of the things we found,
      you have no interest in those things. You only have an interest. So what about this? What
      about that? Our country is going to be strong again because of what we're doing, and this is
      not a sustainable model, what we're looking at. And I think very importantly, I had a great
      election. Won all seven swing states, won millions and millions of votes. Won millions of
      votes. They say it was the most consequential election in 129 years. I don't know if that's
      right, but it was certainly a big win, and that's despite cheating that took place, by the way,
      because there was plenty of cheating that took place.


      In ‘24?


      ‘24, yeah. ‘20, of course. But ‘24 also, they tried. They tried that. They did their best. It's the
      only thing they're good at. But we're gonna have a great country again. Just remember,
      every single question you're asking, I campaigned on it. I campaigned on all the things
      you're talking about, all the things you're asking about, and openly campaigned. And we're
      given credit, even by radical left lunatics. We are given credit for that. We're given credit for
      saying, This is what I'm going to do. If you look at your questions, that's what I campaigned
      on.



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      Following that call, I'd love to hear a little bit about the role that you're playing on the world
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      stage. And I think that you campaigned on that too.


      It’s interesting because you see the relationship. I didn't want to wait, you know, have you
      leave the room, but you see the relationship. I have that relationship with many leaders. If I
      can stop losing 3,000 human beings a week on average, with Russia, Ukraine, it's only
      because of me, nobody else could have stopped it. I think we're going to do that, by the
      way. I think that'll be done. I think that we're going to make a deal with Iran. I think we're
      going to make a deal with Iran. Nobody else could do that.


      You said you would end the war in Ukraine on Day One.


      Well, I said that figuratively, and I said that as an exaggeration, because to make a point, and
      you know, it gets, of course, by the fake news [unintelligible]. Obviously, people know that
      when I said that, it was said in jest, but it was also said that it will be ended.


      Well what’s taking so long? When do you think it will be ended?


      Well, I don’t think it’s long. I mean, look, I got here three months ago. This war has been
      going on for three years. It's a war that would have never happened if I was president. It's
      Biden's war. It’s not my war. I have nothing to do with it. I would have never had this war. This
      war would have never happened. Putin would have never done it. This war would have never
      happened. Oct. 6 would have never happened. Oct. 7 would have never happened. Would
      have never happened. Ever. You then say, what’s taking so long? Do you hear this, Steve?
      The war has been raging for three years. I just got here, and you say, what's taken so long?


      Do you think peace is still possible if Putin is President?


      I think peace is possible. You say if Putin is still president?


      Yeah, if Putin is President. Can there be peace if Putin is President of Russia?


      I think with me as president, there's—possible, if very probable. If somebody else is
      president, no chance.


      If Putin can make peace?




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      Yeah, I think Putin will. I think Putin would rather do it a different way. I think he’d rather go
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      and take the whole thing. And I think that because of me, I believe I'm the only one that can
      get this thing negotiated. And I think we’re a long way. We've had very good talks, and we're
      getting very close to a deal. And I don't believe anybody else could have made that deal.


      Do you believe peace is possible if Zelensky is still President of Ukraine?


      Yeah, I do. He is president now and I think we’re going to make a deal.


      Should Ukraine give up any hope of ever joining NATO?


      I don’t think they’ll ever be able to join NATO. I think that's been—from day one, I think that's
      been, that's I think what caused the war to start was when they started talking about joining
      NATO. If that weren't brought up, there would have been a much better chance that it
      wouldn’t have started.


      Should Crimea go to the Russians? Should they get to keep Crimea?


      Well, Crimea went to the Russians. It was handed to them by Barack Hussein Obama, and
      not by me. With that being said, will they be able to get it back? They've had their Russians.
      They've had their submarines there for long before any period that we're talking about, for
      many years. The people speak largely Russian in Crimea. But this was given by Obama. This
      wasn't given by Trump. Would it have been taken from me like it was taken from Obama? No,
      it wouldn't have happened. Crimea, if I were president, it would not have been taken.


      Would it be acceptable to you in a deal if Crimea and the four other regions that Russia has
      taken from Ukraine would be folded into Russia under a final accommodation?


      If Crimea will stay with Russia—we have to only talk about Crimea because that's the one
      that always gets mentioned. Crimea will stay with Russia. And Zelensky understands that,
      and everybody understands that it's been with them for a long time. It's been with them long
      before Trump came along. Again, this is Obama's war. This is a war that should have never
      happened. I call it the war that should have never happened.


      You’ve talked about improving relations with Moscow. Are you pursuing negotiations with
      them on issues other than Ukraine?


      No—

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      Like nuclear weapons stockpiles or testing?
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      But if a deal has happened, I can see us doing business with Ukraine and with Russia as a
      country.


      You've talked about acquiring Greenland, taking control of the Panama Canal, making
      Canada the 51st state. Maybe you're trolling a little bit on that one. I don't know.


      Actually, no, I’m not.


      Well, do you want to grow the American empire?


      Well, it depends as an empire, it wasn't, these are not things that we had before, so I'd view it
      a little bit differently if we had the right opportunity. Yeah, I think Greenland would be very
      well off if they I think it's important for us for national security and even international
      security. I think Canada, what you said that, “Well, that one, I might be trolling.” But I'm really
      not trolling. Canada is an interesting case. We lose $200 to $250 billion a year supporting
      Canada. And I asked a man who I called Governor Trudeau. I said, ”Why? Why do you think
      we're losing so much money supporting you? Do you think that's right? Do you think that's
      appropriate for another country to make it possible, for a country to sustain and he was
      unable to give me an answer, but it costs us over $200 billion a year to take care of
      Canada?” We’re taking care of their military. We're taking care of every aspect of their lives,
      and we don't need them to make cars for us. In fact, we don't want them to make cars for us.
      We want to make our own cars. We don't need their lumber. We don't need their energy. We
      don't need anything from Canada. And I say the only way this thing really works is for
      Canada to become a state.


      Steven Cheung: We’re coming up on time, about 10 minutes.


      Okay, we'll move quickly then. Last note: Do you want to be remembered as a president
      who expanded American territory?


      Wouldn’t mind.


      One more question on the cuts, sir. You've made cuts to homeland security, cyber
      defenses, the Nuclear Security Administration, your FBI chief is pushing to shift the
      bureau from domestic intelligence to criminal investigation. These are programs that were


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      set up after September 11 to prevent terrorist attacks. Are you worried that this could be
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      making America more vulnerable to an attack?


      No. America will be much stronger.


      If we are attacked, do you risk being blamed for letting down our defenses?


      What does that mean?


      If we are subject to an attack, do you risk being blamed because of these cuts?


      I think I'll be blamed no matter what. I think if I make the country unbelievably successful,
      which it's not now, we owe $36 trillion right? It's, you know, when you think about it, a lot of
      money, a lot of money, but, but no, I think I'll be, I'll be blamed whether it's successful or not.
      I'm used to it.


      You may be right about that. UNICEF says that more than 300 children have been killed
      and more than 600 have been wounded since the ceasefire in Gaza broke down. Who is to
      blame for those deaths?


      I would say that the blame for that is Biden more than anybody else, because I had, as you
      know, Iran was broke, and he allowed them to become rich—


      More than Hamas?


      There was no money for Hamas. There was no money for Hezbollah. There was no money.
      Iran was broke under Trump, and you know that, he knows that, broke. They had no money,
      and they told Hamas, we're not giving you any money. When Biden came and he took off all
      the sanctions, he let China and everybody else buy all the oil, Iran developed $300 billion in
      cash over a four year period. They started funding terror again, including Hamas. Hamas
      was out of business. Hezbollah was out of business. Iran had no money under me. I blame
      the Biden administration, because they allowed Iran to get back into the game without
      working a deal.


      You’ve begun direct talks with Iran. Are you open to meeting with Iran’s President or
      Supreme Leader?


      Sure.

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      You reportedly stopped Israel from attacking Iran's nuclear sites.
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      That's not right.


      It’s not right?


      No, it’s not right. I didn’t stop them. But I didn't make it comfortable for them, because I
      think we can make a deal without the attack. I hope we can. It's possible we'll have to attack
      because Iran will not have a nuclear weapon. But I didn't make it comfortable for them, but I
      didn't say no. Ultimately I was going to leave that choice to them, but I said I would much
      prefer a deal than bombs being dropped.


      Are you worried Netanyahu will drag you into a war?


      No.


      Let’s talk about some of the issues with universities—


      By the way, he may go into a war. But we’re not getting dragged in.


      The U.S. will stay out of it if Israel goes into it?


      No, I didn’t say that. You asked if he’d drag me in, like I’d go in unwillingly. No, I may go in
      very willingly if we can't get a deal. If we don't make a deal, I'll be leading the pack.


      You're planning your first major foreign trip for your second term to the Middle East next
      month. What are the last hurdles for Saudi Israeli normalization?


      Well, what I want, and the reason I'm doing it, is because Saudi Arabia, I happen to like the
      people very much, and the Crown Prince and the King—I like all of them, but they've agreed
      to invest a trillion dollars in our economy. $1 trillion. I'm then going to Qatar, and I'm then
      going to UAE, and then I'm coming back, and then we're making another. I think our foreign
      policy has been incredible, and it was before, and it is now. You sort of got a little glimpse of
      it.


      Are you closer to a Saudi-Israeli normalization deal than you were before?




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      I have very good relationships in the Middle East, and I think all over the world. I think it's—
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      well, the smarter people understand. I have stopped—I have solved more problems in the
      world without asking for or getting credit.


      This would be a big one.


      Which one?


      Saudi-Israeli normalization. You had the Abraham Accords, one of your, you know, historic
      accomplishments—


      Unfortunately, they did nothing. They did nothing with the Abraham Accords. We had four
      countries in there, it was all set. We would have had it packed. Now we're going to start it
      again. The Abraham Accords is a tremendous success, but Biden just sat with it.


      Can you build on it to get the Saudi-Israeli normalization deal?


      Well, I tell you what: I think Saudi Arabia will go into the Abraham Accords.


      Yeah?


      Yeah, and by the way, I think it will be full very quickly.


      It would be a big deal if that happens.


      They did nothing. Oh, that will happen.


      That would be a big accomplishment. The State Department said it has revoked 300
      student visas, primarily because of their participation in campus protests. I want to ask
      you about this, Mr. President, because you emphasized free speech as a cornerstone of
      your campaign, you castigated efforts to suppress it. But now it looks like your
      administration is deporting hundreds of people for engaging in speech you don't like.
      Why?


      Tremendous anti-semitism at every one of those rallies. Tremendous, and I agree with free
      speech, but not riots all over every college in America. Tremendous anti-semitism going on
      in this country.


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      Are you worried that you're intimidating students or chilling free speech on American
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      campuses and elsewhere throughout the country?


      No, they can protest, but they can't destroy the schools like they did with Columbia and
      others.


      Let’s talk about one case. Are you familiar with the case of the Tufts University student
      Reynessa Ozturk, who was arrested by a group of plain clothes officers. Well, she has since
      been accused by your government of having ties to Hamas. They have not revealed any
      evidence. Would you direct your Department of Justice to disclose the evidence that she is
      connected to Hamas?


      I would have no trouble with it, no. I’ll look into it, but I’m not aware of the particular event.


      You were harshly critical of what you called the weaponization of the Justice System under
      Biden. You recently signed memos—


      Well, sure, but you wouldn’t be—if this were Biden, well, first of all, he wouldn't do an
      interview because he was grossly incompetent.


      We spoke to him last year, Mr. President.


      Huh?


      We spoke to him a year ago.


      How did he do?


      You can read the interview yourself.


      Not too good. I did read the interview. He didn't do well. He didn't do well at all. He didn't do
      well at anything. And he cut that interview off to being a matter of minutes, and you weren't
      asking him questions like you're asking me.


      Well, we appreciate that you are able and willing to answer these questions. It says
      something about you, Mr. President.




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      I am indeed. I've been answering them for years and I’ve been getting elected by bigger and
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      bigger numbers all the time, but you didn't ask questions like this to Biden, because if you
      did, he would have crawled under this beautiful desk.


      You recently signed memos calling for an investigation of Chris Krebs, a top cybersecurity
      official in your first term. Isn't that, though, what you accused Biden of doing to you?


      I think Chris Krebs was a disgrace to our country. I think he was—I think he was terrible. By
      the way, I don't know him. I'm not—I don't think I ever met him. I probably saw him around.
      You know, I have people come in, like the other one. He came in, and he's on CNN all the
      time as like an expert on Trump. I have no idea who he is. And Chris Krebs the same thing. I
      guess he probably said he knows me, but I have no idea. And you know, oftentimes I'll have
      some people sitting right here, and behind them will be 10 or 15 people from their agency or
      their office, and they'll stand there, and then all of a sudden, I'll hear that like I'm, you know,
      they're all time experts in me. I know very little about Chris Krebs, but I think he was very
      deficient.


      You've used threats and lawsuits, other forms of coercion—


      Well, I’ve gotta be doing something right, because I've had a lot of law firms give me a lot of
      money.


      Why is that an appropriate use of presidential power?


      Well, I think it is because I think they felt that the election was rigged and stolen and they
      didn't want to be a part of it. You think they gave me $100 million each for nothing? You
      know these law firms gave me $100 million worth of work, et cetera, and other things. And
      do you think they gave me that because I'm a nice guy? I don't think so. They gave it to me
      because they knew what they did wrong and they didn't want to get involved with it. And
      that's okay. That's the way it works, unfortunately.


      But that is an appropriate use of presidential power, you think?


      Which is?


      The threats and the EOs against the law firms.




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      They pay–these are the top firms in the world. These are the biggest, the best: Cravath,
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      Milbank Tweed, Paul Weiss. These are the toughest, smartest firms. They don't, they don't do
      this unless there's a little problem or a big problem.


      Isn't cutting a deal with them to remove a threat from you and to do pro-bono work for
      causes you like just a form of extortion?


      I don’t think it was a threat. I think they did that because, I assume they did it because they
      felt they did something wrong. Otherwise they would have, we would have had a lawsuit.


      You once said you weren't sure how the Civil Rights Act quote “worked out.” Would
      America be better without it?


      I never heard of that. Nobody’s ever asked me that before.


      You said it in a 2020 interview.


      I don't remember having said that.


      Cheung: We have time for one more question.


      When we spoke to you a year ago, we asked whether you would challenge the 22nd
      Amendment, which limits presidents to two terms. You said, and I quote, “I'm going to
      serve one term. I'm going to do a great job, and I'm going to leave.” What changed?


      Well, I’m serving two terms now.


      You meant one in addition to the one you already served.


      You mean one more. I have more people begging me to run again, but I haven't looked at
      even the possibility. But the only thing that's changed is they think I'm doing a great job, and
      they like the way I'm running the country. They have a border, which you didn't ask about,
      that's virtually totally closed. The best border we've ever had.


      Border crossings are down substantially.


      No, I mean, it's, it's really, people can't believe it. They interviewed some farmers, really
      beautiful people that lived on the other side. They were being drawn into fights and horror

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      shows, and now, I mean, it was dangerous. One of them got very badly injured, and by an
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      illegal migrant that came across. And they asked him, How is it now? He said, ”Thank God
      for Donald Trump. It's the best it's ever been. And I've lived here for 50 years.”


      You recently said you were “not joking” about seeking a third term and that there were
      methods to do it. What methods?


      I'd rather not discuss that now, but as you know, there are some loopholes that have been
      discussed that are well known. But I don't believe in loopholes. I don't believe in using
      loopholes.


      You wouldn’t run as vice president to J.D. Vance?


      I don’t know anything about, what, look, all I can say is this, I am being inundated with
      requests. I'm doing a good job. Great physical exam, and unlike every other president, I took
      the cognitive test and I aced it 100% and I bet you guys couldn't get 100% on that exam. It's
      a tough exam. You know, when you get into the mid questions, it gets to be pretty tricky and
      pretty tough, and the last questions are very tough, and I aced it. And I guarantee, I'd give
      you, I'd make a big, beautiful bet that you guys couldn't ace it. But anyway. But look, it's
      good to have you, it’s a very nasty interview. They don’t ask any of the good things.


      One final question. Mr. President, you were showing us the new paintings you have behind
      us. You put all these new portraits. One of them includes John Adams. John Adams said
      we’re a government ruled by laws, not by men. Do you agree with that?


      John Adams said that? Where was the painting?


      It’s right here.


      We’re a government ruled by laws, not by men? Well, I think we're a government ruled by
      law, but you know, somebody has to administer the law. So therefore men, certainly, men
      and women, certainly play a role in it. I wouldn't agree with it 100%. We are a government
      where men are involved in the process of law, and ideally, you're going to have honest men
      like me.


      Thank you, Mr. President. We appreciate your time.


      Thank you.

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